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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the

District of Maryland

 

In Re DMCA Subpoena to Cloudflare, Inc. )

_ Plaintiff - )
v. ) Civil Action No. i M CY 1 Oo

)

)

Defendant )

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Cloudflare, Inc.

 

(Name of person to whom this subpoena is directed)

4 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: Identifying information for the operator(s) of readms.net, from any and all sources, including but not limited to

billing or administrative records that provide the name(s), address(es), telephone number(s), email address
(es), account number(s) and any other electronic or physical names, addresses or contact information.

 

Place: Oppenheim + Zebrak, LLP | Date and Time:
4530 Wisconsin Avenue, NW, Suite 500
Washington, DC 20016 Meron te. 2019

 

 

1 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

Place: Date and Time:

 

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

CLERK OF COURT
OR

Signature of Clerk or Deputy Clerk Altorney’s signature

 

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Shueisha, Inc. _
, who issues or requests this subpoena, are:

 

Matthew J. Oppenheim, Oppenheim + Zebrak, LLP 4530 Wisconsin Avenue NW, Suite 500. Washington, DC 20016

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
